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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA

             Plaintiff,

v.                                                No. 1:18-CR-02945 WJ

JANY LEVEILLE,
HUJRAH WAHHAJ,
SUBHANAH WAHHAJ, and
LUCAS MORTON

             Defendants.



               Defendants’ motion to dismiss—missing element

       Jany Leveille, Hujrah Wahhaj, Subhanah Wahhaj, and Lucas Morton,

through their respective lawyers Angelica Hall and Aric Elsenheimer, for Ms.

Leveille, Ryan Villa and Justine Fox-Young for Subhanah Wahhaj, Donald

Kochersberger and Marshall Ray for Hujrah Wahhaj, and Matthew Beck and

Joseph Shattuck for Lucas Morton, move the Court to dismiss counts six and

seven of the indictment.

     I. Background

       The defendants are charged in a multi-count superseding indictment with

a variety of charges. [Doc 85]. Counts one through three consist of terrorism
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related charges. Count four charges conspiring to murder a federal officer. Count

five involves an allegation of the unlawful possession of a firearm. Lastly, counts

six and seven allege a violation of the federal kidnapping statute.

II.   Argument

      “An indictment is sufficient if it (1) contains the essential elements of the

offense intended to be charged, (2) sufficiently apprises the accused of what he

must be prepared to defend against, and (3) enables the accused to plead a

judgment under the indictment as a bar to any subsequent prosecution for the

same offense.” United States v. Brown, 925 F.2d 1301, 1304 (10th Cir. 1991)

(quoting United States v. Kilpatrick, 821 F.2d 1456, 1461 (10th Cir. 1987)). A “court

should dismiss an indictment if it does not ‘contain[] the elements of the offense

intended to be charged.’” Kilpatrick, 821 F.2d at 1461 (quoting Russell v. United

States, 369 U.S. 749, 763 (1963).

      Counts six and seven of the indictment in this case are insufficient because

they do not even allege an essential element of the offense. Count six charges the

named defendants with conspiracy to commit kidnapping and count seven

charges them with kidnapping, contrary to 18 U.S.C. § 1201. That statute

provides that “whoever unlawfully seizes, confines, inveigles, decoys, kidnaps,




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abducts, or carries away and holds for ransom or rewards or otherwise any

person . . . when – (1) the person is willfully transported in interstate or foreign

commerce . . . shall be punished by imprisonment for a term of years or for life

and, if the death of any person results, shall be punished by death or life

imprisonment.”

      This statute has four necessary elements: 1) unlawful seizure, inveigling,

kidnapping, etc of someone; 2) the holding of that person for ransom, reward, or

otherwise; 3) the willful transportation of that person; and 4) an interstate or

foreign nexus. United States v. Walker, 137 F.3d 1217, 1220 (10th Cir. 1998). Put

another way, the second element could be stated as a requirement that “the

defendant kidnapped the person for some purpose or benefit”. Instruction 2.55,

Tenth Circuit Pattern Criminal Jury Instructions.

      In United States v. Sarracino, 131 F.3d 943, 947 (10th Cir. 1997) (quoting 18

U.S.C. § 1201(a)), the court held that in order to meet the requirement that the

victim was abducted “ ‘for ransom or reward or otherwise,’ ” “[i]t is only

necessary . . . that the kidnappers had some reason for the kidnapping which, to

them, would be of some benefit.” (emphasis added) See also De Herrera v. United

States, 339 F.2d 587, 588 (10th Cir.1964) (“The use in the statute of the words ‘or




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otherwise’ shows an intent of Congress to include within the sense any holding

of a kidnapped person for a purpose desired by the captor and negatives the need

for a ransom or reward.”).

        Counts six and seven of the indictment merge the first and second

elements. The indictment thereby omits any factual basis for the second element

of the offense. Count six, for example, provides in relevant part, that,

              From at least in or about October 2017, up to and
              including in or about August 2018, in the District of
              New Mexico and elsewhere, Jany Leveille, Hujrah
              Wahhaj, Subhanah Wahhaj, and Lucas Morton, and
              others known and unknown to the Grand Jury,
              knowingly did conspire, combine, confederate, agree,
              and act interdependently with each other to unlawfully
              seize, confine, inveigle, decoy, kidnap, abduct, carry
              away, and hold John Doe, a child who had not attained
              the age of eighteen (18) years, to conceal and hold him . . .
              (emphasis added).

The language of count seven mirrors the language of count six. Under the

indictment, therefore, the second element of both counts six and seven consists of

the allegation that the defendants simply held John Doe, “to conceal and hold

him.”

        The language in counts six and seven of the indictment improperly merges

the first and second elements of kidnapping. Uncertain of what could possibly be




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used as a substitute for the requirement of a “ransom, reward, or otherwise” in

this case, the government simply recycles language from the first element to

satisfy the factual predicate for the second element. Thus does the government

contend that the defendant’s “confine[d] . . . and “h[e]ld” John Doe “to conceal

and hold him.” The only difference is that the government used a synonym of

the word confine to mask the factual vacuum left in the second element.

      Such legal conjuring tricks do not withstand scrutiny under Rule 7 of the

Federal Rules of Criminal Procedure or the presentment clause of the Fifth

Amendment. Not only does this legal sleight of hand violate the defendants’

rights, but it would also render the second element under section 1201

meaningless. If the “ransom, reward or otherwise” clause of section 1201 can be

satisfied by merely holding someone and concealing them, which would occur in

every situation where someone is “confined” then the clause “ransom, reward, or

otherwise” has no statutory purpose. Such a construction would run afoul of the

language of section 1201, thwart congressional intent, and violate the rule against

surplusage.

      The second element of section 1201 specifically requires the government to

prove that a defendant held someone “for ransom, reward, or otherwise.” While




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the term “otherwise” has been construed expansively, it must still, under the

Tenth Circuit’s decision in Sarracino, include a “purpose desired by the captors.”

See also Gooch v. United States, 297 U.S. 124 (1936) (observing that with the

kidnapping statute, “Congress intended to prevent transportation in interstate or

foreign commerce of persons who were being unlawfully restrained in order that

the captor might secure some benefit to himself.”). It is not sufficient for a

defendant to kidnap someone for the sole purpose of kidnapping that person.

There must be some benefit, however slight, to the perpetrator. Similarly, it is not

sufficient for a defendant to confine someone for the purpose of confining that

person. Had this been Congress’ intent, there would be no need for the clause

“ransom, reward, or otherwise.” Rather, there must be some identified benefit to

the defendant. Congress used the language “ransom, reward, or otherwise” to

specifically require proof that the kidnapping was undertaken to obtain a benefit

for the captor.

      Counts six and seven of the indictment omit any reference to a “ransom,

reward, or otherwise.” Merely using a synonym of one of the factual predicates

of the first element improperly merges the first and second element and violates

the precise language of section 1201.




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      Wherefore, the defendants move to dismiss counts 6 and 7 of the

superseding indictment because those counts fail to state an essential element of

the charged offense.



                                      Respectfully submitted,

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                                       /s/ filed electronically October 19, 2022
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